          Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 1 of 144



 1   BRIAN H GETZ, ESQ. (CSBN 85593)
     LAW OFFICES OF BRIAN H GETZ
 2   90 New Montgomery Street, Suite 1250
     San Francisco, CA 94105
 3   Telephone:    (415) 912-5886
 4   Facsimile:    (415) 358-4770
     Email:        brian@briangetzlaw.com
 5
     JONATHAN MATTHEW BAUM (CSBN: 303469)
 6   STEPTOE & JOHNSON LLP
     One Market Street
 7
     Steuart Tower, Suite 1070
 8   San Francisco, CA 94105
     Telephone: (510)735-4558
 9   Email: jbaum@steptoe.com
10   Attorneys for Defendant
     HARLAN KELLY, JR.
11

12                                   UNITED STATES DISTRICT COURT
13                                  NORTHERN DISTRICT OF CALIFORNIA
14                                         SAN FRANCISCO DIVISION
15
     UNITED STATES OF AMERICA,                        Case No.: 3:21-CR-00402-RS
16
                       Plaintiff,                     DEFENDANT HARLAN KELLY, JR.’S
17
                                                      LETTERS FROM THE COMMUNITY IN
               v.                                     SUPPORT OF HIS SENTENCING
18
                                                      MEMORANDUM
     HARLARN KELLY, JR.,
19
                       Defendant.                     Date: March 18, 2024
20                                                    Time: 10:00 AM
21                                                    Dept: Courtroom 3 – 17th Floor
                                                      Judge: Hon. Richard Seeborg
22

23            Defendant HARLAN KELLY, JR. respectfully submits the following letters from the

24   following members of the community in support of his Sentencing Memorandum:

25       No.                        Name                             Bates Stamp
26        1         Adam Werbach                      HK-SENTENCING-0001 – 0002
27        2         Alaric Degrafinried               HK-SENTENCING-0003
28
                                                     1
                     DEFENDANT HARLAN KELLY, JR.’S LETTERS FROM THE COMMUNITY
                            IN SUPPORT OF HIS SENTENCING MEMORANDUM
                                      CASE NO. 3:21-CR-00402-RS
     Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 2 of 144



 1   3    Andrea R. Gourdine            HK-SENTENCING-0004 – 0005
 2   4    Ann Moller Caen               HK-SENTENCING-0006
 3   5    Anthony G. Wagner             HK-SENTENCING-0007 – 0008
 4   6    Ashur Yoseph                  HK-SENTENCING-0009
 5   7    Barry Fadem, Esq.             HK-SENTENCING-0010 – 0011
 6
     8    Ben Washington                HK-SENTENCING-0012 – 0013
 7
     9    Benjamin C. Forsyth           HK-SENTENCING-0014 – 0016
 8
     10   Brandon Hernandez and Oscar   HK-SENTENCING-0017 – 0018
 9        Escobar

10   11   Brenda Mabry                  HK-SENTENCING-0019 – 0020

11   12   Brook Mebrahtu                HK-SENTENCING-0021 – 0022

12   13   Carol E. Tatum                HK-SENTENCING-0023

13   14   Christina Brooks              HK-SENTENCING-0024 – 0025

14   15   Cynthia O’Neill               HK-SENTENCING-0026

15   16   Dan Henkle                    HK-SENTENCING-0027

16   17   Douglas Marschke              HK-SENTENCING-0028 – 0029

17   18   Ed Griffin                    HK-SENTENCING-0030 – 0031

18   19   Ed Harrington                 HK-SENTENCING-0032 – 0033

19   20   Eddie Naser                   HK-SENTENCING-0034
20   21   Edward and Janet Wong         HK-SENTENCING-0035 – 0036
21   22   Edward D. Reiskin             HK-SENTENCING-0037 – 0038
22   23   Edward “Ted” Henifen          HK-SENTENCING-0039 – 0040
23   24   Emilio Cruz                   HK-SENTENCING-0041 – 0042
24   25   Floyed K. Rollins II          HK-SENTENCING-0043 – 0044
25   26   Francesca Vietor              HK-SENTENCING-0045 – 0046
26   27   Frejeanne R. Scott            HK-SENTENCING-0047 – 0048
27   28   Gerald Green                  HK-SENTENCING-0049 – 0050
28
                                        2
            DEFENDANT HARLAN KELLY, JR.’S LETTERS FROM THE COMMUNITY
                   IN SUPPORT OF HIS SENTENCING MEMORANDUM
                             CASE NO. 3:21-CR-00402-RS
     Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 3 of 144



 1   29   Glenn and Betty Jo Little       HK-SENTENCING-0051
 2   30   Harlan L. Kelly, III (“Trey”)   HK-SENTENCING-0052 – 0053
 3   31   James Kramer                    HK-SENTENCING-0054
 4   32   James Parrott                   HK-SENTENCING-0055 – 0056
 5   33   Janice Ewing                    HK-SENTENCING-0057 – 0058
 6
     34   Jim Fambrini                    HK-SENTENCING-0059 – 0060
 7
     35   Jonathan Moscone                HK-SENTENCING-0061
 8
     36   Joy Washington                  HK-SENTENCING-0062 - 0065
 9
     37   Karin Johnson                   HK-SENTENCING-0066 – 0067
10
     38   Kathleen and Albert Cotton      HK-SENTENCING-0068 – 0069
11
     39   Kathryn How                     HK-SENTENCING-0070 – 0072
12
     40   Kevin L. Jones                  HK-SENTENCING-0073 – 0074
13
     41   L. Matthew Goudeau              HK-SENTENCING-0075
14
     42   Leamon J. Abrams                HK-SENTENCING-0076
15
     43   Louis J. Giraudo                HK-SENTENCING-0077 – 0078
16
     44   Marc Q. Jones                   HK-SENTENCING-0079 – 0080
17
     45   Maria Little                    HK-SENTENCING-0081 – 0082
18
     46   Marie-Claire Rensch             HK-SENTENCING-0083
19
     47   Mark A. Primeau, AIA            HK-SENTENCING-0084 – 0085
20
     48   Mayor Willie L. Brown, Jr.      HK-SENTENCING-0086 – 0087
21
     49   Michael Harris                  HK-SENTENCING-0088 – 0089
22
     50   Naomi Kelly                     HK-SENTENCING-0090 – 0092
23
     51   Neil Hallinan, Esq.             HK-SENTENCING-0093 – 0095
24
     52   Patrick W. Johnston             HK-SENTENCING-0096 – 0098
25
     53   Paul K. Goodwin                 HK-SENTENCING-0099 - 0100
26
     54   Peter O’Toole                   HK-SENTENCING-0101 – 0102
27

28
                                          3
            DEFENDANT HARLAN KELLY, JR.’S LETTERS FROM THE COMMUNITY
                   IN SUPPORT OF HIS SENTENCING MEMORANDUM
                             CASE NO. 3:21-CR-00402-RS
         Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 4 of 144



 1      55    Randal Bessolo                           HK-SENTENCING-0103 – 0104
 2      56    Randy Parent                             HK-SENTENCING-0105 – 0106
 3      57    Reverand Paul J. Fitzgerald, S.J.        HK-SENTENCING-0107
 4      58    Richard S.E. Johns, Esq.                 HK-SENTENCING-0108 – 0109
 5      59    Ryan Brooks                              HK-SENTENCING-0110 – 0111
 6
        60    Sheena C. Johnson                        HK-SENTENCING-0112 – 0113
 7
        61    Shelly Tatum                             HK-SENTENCING-0114 – 0115
 8
        62    Shon Buford                              HK-SENTENCING-0116 – 0117
 9
        63    Shonna M. Cook                           HK-SENTENCING-0118 – 0119
10
        64    Sophie Maxwell                           HK-SENTENCING-0120 – 0121
11
        65    Stephen Davis and Jill Cowan             HK-SENTENCING-0122
12
        66    Steve Kawa                               HK-SENTENCING-0123
13
        67    Susan Leal                               HK-SENTENCING-0124
14
        68    Tania Lee and Brianna Lee                HK-SENTENCING-0125 – 0126
15
        69    Thomas & Jacqueline Marx                 HK-SENTENCING-0127
16
        70    Timothy Alan Simon, Esq.                 HK-SENTENCING-0128 – 0129
17
        71    Tyrone Jue                               HK-SENTENCING-0130 – 0131
18
        72    Ulysses Ron Vincent, Jr.                 HK-SENTENCING-0132 – 0133
19
        73    Veronica Ng                              HK-SENTENCING-0134 – 0135
20
        74    Vitaly B. Brown, P.E.                    HK-SENTENCING-0136 – 0137
21
        75    Wayne Perry                              HK-SENTENCING-0138
22
        76    William Rutland                          HK-SENTENCING-0139 – 0140
23

24   DATED: March 11, 2024                        Respectfully submitted,
                                                  LAW OFFICES OF BRIAN H GETZ
25
                                                   /s/ Brian H Getz
26                                                BRIAN H GETZ
                                                  JONATHAN BAUM
27                                                Attorneys for Defendant
                                                  HARLAN KELLY, JR
28
                                                      4
                DEFENDANT HARLAN KELLY, JR.’S LETTERS FROM THE COMMUNITY
                       IN SUPPORT OF HIS SENTENCING MEMORANDUM
                                 CASE NO. 3:21-CR-00402-RS
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 5 of 144




Adam Werbach
2451 Folsom Street
San Francisco, CA 94110
415-377-3204
awerbach@gmail.com

November 10, 2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

RE: United States v. Harlan Kelly, Jr.
Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

I am writing this letter on behalf of Harlan Kelly, whom I have known for over two
decades, in light of his forthcoming sentencing. My relationship with Mr. Kelly began in a
professional context in 2003 when I was appointed to the San Francisco Public Utilities
Commission by a member of the Board of Supervisors while Mayor Willie Brown was
out of town. I was asked to serve as an environmental representative, hoping to bring
some knowledge from my tenure as the National President of the Sierra Club. The
mayor was furious. The commissioners and the staff turned a cold shoulder to me.

I was met with resistance, even a boycott of my first meeting by the commission due to
the mayor's opposition. Harlan, who was not yet the leader of the agency, was the only
person to encourage my participation and leadership, despite the political heat he
received for helping me. He didn’t care what people said, he welcomed me with warmth
and a readiness to bridge my transition into the commission. His commitment to public
service was evident as he took it upon himself to brief me on the complex issues of
water and sewer policy, offering his knowledge and support without reservation, at all
hours. If I made an error, he would pull me aside privately and help me improve. When
others tried to obscure the facts about environmental impacts, I found that Harlan was
willing to get into the details with me and help figure out a better way. Collectively we




                                                                       HK-SENTENCING-0001
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 6 of 144




helped reduce negative impacts of our water system on the Tuolumne River in
Yosemite.

Beyond his professional life, I have come to know Harlan as a devoted father and
husband. Our families have grown close through countless hours spent together while
our sons played basketball for Bay City AAU Club Basketball and CYO basketball. His
dedication to his children and their endeavors is a testament to his character.

I understand the gravity of the charges against Harlan and the serious lapses in
judgment he has taken responsibility for. I never witnessed or experienced this behavior,
but I know he holds himself accountable. It is not my intention to diminish the
significance of this accountability, but to offer a holistic view of the man I have known—a
man of engineering excellence, dedication, and remorse. It is sad that he has tarnished
his reputation and legacy, because I did witness, during the years I served on the Public
Utilities Commission, his enormous contributions to keep the water running. There are
few engineers in America with the capabilities to lead a system of this size, and few who
would do so in a way that would restore, not destroy, the environment.

Knowing Harlan, I firmly believe in his capacity for reflection and change. His
contributions to our community, his commitment as a father, and his support of
environmental stewardship are the fibers of his character. I trust that you will weigh
these attributes alongside the circumstances of his case.

Thank you for considering my perspective on Mr. Harlan Kelly's character during this
critical juncture in his life. I am confident that he deeply regrets his actions and is
committed to making amends.

Respectfully,

Very truly yours,


Adam Werbach




                                                                         HK-SENTENCING-0002
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 7 of 144




                                                      HK-SENTENCING-0003
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 8 of 144




Andrea R. Gourdine
6507 United Circle
Fairfield, Ca 94533
Argourdine@gmail.com

                                      December 15, 2023

The Honorable Richard Seaborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
Law Offices of Brian H. Getz
San Francisco, CA 94102

       Re: United States v. Harlan Kelly, Jr.
           Case No.: 3:21-CR-00402

Dear Honorable Judge Seaborg,

I had a 36 year career in public service. The vast majority of that time was with the City and
County of San Francisco. In 1967 I was the first black woman to be hired in Human Resources
at the very lowest professional level and rose through the civil service ranks to become a
Principal Personnel Analyst in 1972. In 1983, I was appointed to a position in the Public Utilities
Commission (PUC) - Manager of the Bureau of Personnel and Training and served for eleven
years. I was appointed by the Mayor as the Human Resources Director for the City and County
of San Francisco from 1996 - 2004. I met Harlan Kelly during that period of time, when he was
the City Engineer.

The point of the preceding information is to underscore the fact that I have observed and
worked with a wide variety of individuals, at various levels, and over a sustained period of time.
Harlan was a hard-working individual that paid close attention to detail with an eye towards
making things better, whether it was for a department, staff, or the citizens of San Francisco. I
can provide several positive examples of Harlan’s character. As the City Engineer, Harlan
sought my counsel regarding a difficult issue in recruiting diverse candidates for professional
engineering positions, not only within the Department of Public Works, but in all City
Departments. Ultimately, he personally participated in recruitment campaigns designed to
ensure fairness in the hiring process. We worked together to enhance citywide strategies that
have improved access for everyone. His dedication to the pursuit of fairness remains
admirable.

Ten years after retirement, Harlan’s team asked me to return to help his staff work through
some difficult and complex human resource issues at the PUC. In the process of resolving
problems and working to help them address recruiting a permanent employee for my temporary
position, I discovered a situation that once again demonstrated Harlan’s dedication to
fundamental fairness and following the civil service rules. The proper procedures for hiring and
paying of Project Managers was not routinely being followed in other City Departments. Project
Managers are highly paid and oversee millions of dollars in construction projects, over multiple




                                                                               HK-SENTENCING-0004
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 9 of 144




years. The PUC stood out by continuing to follow the city guidelines. This demonstrated good
cost containment management provided effective oversight of tax payer funds.

Sadly, I am aware that Harlan is going to be sentenced for serious criminal offenses.


                                        Very truly yours,



                                      Andrea R. Gourdine




                                                                             HK-SENTENCING-0005
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 10 of 144




                                                      HK-SENTENCING-0006
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 11 of 144




                                                      HK-SENTENCING-0007
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 12 of 144




                                                      HK-SENTENCING-0008
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 13 of 144




                                                      HK-SENTENCING-0009
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 14 of 144




                                                      HK-SENTENCING-0010
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 15 of 144




                                                      HK-SENTENCING-0011
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 16 of 144




                                                      HK-SENTENCING-0012
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 17 of 144




                                                      HK-SENTENCING-0013
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 18 of 144




Benjamin C. Forsyth
415-812-8700
bencforsyth@gmail.com


The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Ave.
Courtroom 3 - 17th Floor
San Francisco, CA 94102


Nov. 7, 2023

RE: United States . Harlan Kell , Jr. Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,


My name is Ben Forsyth. I have been a resident of San Francisco since January 1996. I have
been employed in various roles related to software development with IBM since 2014. I met my
wife while taking night classes at City College of San Francisco. We were both taking German
language classes for fun. We had the same teacher and we met at an end of semester pot luck
dinner.

Our first child, Lucas, was born in August 2006. We lived in a small apartment in the Richmond
District and we soon purchased our first home in May 2007. We needed to find a preschool for
our son and a neighbor recommended Star of the Sea Preschool. It was located just a few
blocks from our home and was a really good fit for our family. When it came time to choose a
kindergarten, we decided to stay at Star of the Sea.

Our son Lucas, while in kindergarten, at Star of the Sea, made friends with Harlan Kelly III
(Trey), son of Harlan and Naomi Kelly. We met Trey s parents Harlan and Naomi soon after. Star
of the Sea School had a morning assembly with announcements and a prayer and parents,
especially parents of younger grades, lined up next to their kids. Parents would chat and
socialize and occasionally stay after assembly continuing to chat.

The parents at Star of the Sea organized sports programs for the kids, soccer in the fall,
basketball in the winter and baseball in the spring. Harlan Kelly was the coach of the kids
basketball team and as I was also interested in sports, I would help chase down balls and lend a
hand where I could. Harlan continued to lead the basketball team each year and would help out.




                                                                            HK-SENTENCING-0014
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 19 of 144



When the kids were in 3rd grade, they started with CYO Sports, where they played other
schools and would have practices after school. Harlan would be at practice on weeknights, still
in his suit from his work. Harlan was always there, dedicated to coaching the team. Often his
younger son, Mason, would be there as well.

Star of the Sea fathers had a weekly basketball game on Sunday nights. I started attending the
games and built up relationships with many of the other fathers attending. The games stopped
after the COVID-19 pandemic and started again at a new venue in the past year or so. Harlan
would attend these games and I came to know Harlan better. He is quite a competitor at
basketball and was always gracious with other fathers who might not have the same level of
skill. It was always about the comradery rather than the outcome of the games.

I knew that Harlan had an executive position with the City and County of San Francisco and I
knew that such a position requires a very large commitment of time and energy. In my own
career, I was working at IBM for a small division that was previously a start-up. The founders of
that start-up worked what seemed like 20 hour days and I assumed that Harlan had the same
type of work commitment. Harlan was always at practice, always there for his sons and for the
other kids. This always impressed me about Harlan, he was in a position of power, yet he still
had time for kids and family.

Our kids remain friends today. They are both high-school seniors and they both attend St.
Ignatius Prep. I feel extremely blessed that both Lucas and Trey have a deep friendship, like
brothers, and my hope is that they stay friends for their entire lives.

We have a younger son, Sebastian, who became friends with Harlan and Naomi s younger son,
Mason. With friendship, comes birthday parties and sleep-overs. We have entrusted our kids to
Harlan and Naomi many times over the years and we consider them like extended family.

When we heard news of Harlan s indictment, we were shocked. We were even more dismayed
when Trey gave us a first hand account of the FBI entering their home on a typical weekday
morning while kids were getting ready for school. We have always known Harlan to be
extremely hard working and dedicated to his family and to his broader community. Harlan was
very supportive of my wife, Caren, giving her career advice and support while she navigated a
difficult time in a new position she took on at UCSF. Harlan was always extremely helpful with
advice and encouragement. It is my understanding that it is part of his personality and also
because as a man of color, in a position of power, he has learned how to navigate workplace
dynamics and build meaningful, trusting relationships with people. He is always ready to share
his experience and offer advice.




                                                                              HK-SENTENCING-0015
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 20 of 144



We hope that you will consider leniency with Harlan. As I have stated earlier in this letter, he is a
man of integrity, committed to his family and community and while mistakes were clearly made,
it seems to be that they were made out of encouragement for friends.




Ben Forsyth




                                                                                HK-SENTENCING-0016
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 21 of 144




                                                      HK-SENTENCING-0017
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 22 of 144




                                                      HK-SENTENCING-0018
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 23 of 144




                                                      HK-SENTENCING-0019
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 24 of 144




                                                      HK-SENTENCING-0020
             Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 25 of 144

Brook Mebrahtu
7620 Sterling Drive
415.990.6700
Rasbrook@gmail.com

                                                                         October 30, 2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102
       RE:    United States v. Harlan Kelly, Jr.
              Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

My name is Brook Mebrahtu, an immigrant from Ethiopia and I arrived in the US on
December 25, 1980. I finished high school in South Carolina and then attended UC
Berkeley and graduated in 1996 with a BS in Architecture. I met Harlan Kelly in 1995 when
I did a summer internship with City and County of SF, Public Works’ Bureau of Architecture
and have known him over 28 years. In 1996, I was hired to work for Public Works as an
architectural associate and after working as designer, I eventually transitioned to Project
Management and have been very lucky to have managed iconic projects representing the
City and County of SF for projects like Academy of Sciences, SFPUC HQ high-rise and most
recently the Moscone Convention Center Expansion which were highly successful projects
that were completed on time and within budget. In 2019, I retired from the City and County
SF and joined a private consulting firm that provides project and construction services to
our clients.

My experience, friendship and interactions with Harlan were some of the most memorable
in the 28 years I have known him and is one of the most thoughtful, kind and graceful
persons I have ever known and would like to offer 3 specific examples.

A) When I started my career at City and County of SF, Harlan was in leadership role, and I
specifically asked him if he would be my mentor. I wanted to learn as much as possible on
how to do my job effectively, grow my career and be an impactful public servant. Harlan
immediately said ‘yes’ and helped me develop a 5-year plan. He would regularly check-in
on me on the status of my 5-year plan, to see if I’m meeting my short-term and long-term
goals with advice on improvements. His early and continual support allowed me to be very
successful going from Architectural Assistant to Project Manager IV (highest position).

                                                                           HK-SENTENCING-0021
            Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 26 of 144




B) In 1998, I had some serious family issues and took a 7-week, non-paid leave to go to back
Ethiopia for the first time since in 18 years and ended up having to extend to 12 weeks.
The Bureau of Architecture manager approached Harlan wanting to terminate me from
Public Works. Harlan in formed the manager than I was on non-paid leave dealing with a
serious family health issue, plus Brook is one of our most productive employees and given
the lack of technology at that time (no fax, no cell phone), Harlan told the manager that his
extended leave is not sufficient to terminate him and let’s resolve it when he returns with
proper information. Harlan saved my job!

C) Lastly, Harlan creation of Project Pull Program that helps underprivileged youth from
various neighborhoods was an impactful program that impressive on the impact it had on
youth, showing and guiding them through a vision that there is a future by allowing them
to intern/shadow architects & engineers on projects. I volunteered in the program and
have gotten to know dozens of folks that attributes their career growth and success to that
program. This is a similar program at UC Berkeley where both Harlan and I attended and
involved in a program called Math, Engineering, Science Achievement (MESA) where tutors
like Harlan and I would tutor underprivileged students, especially African American
students, in middle and high schools in various poor neighborhoods. This is a testament
of Harlan’s passion to contribute to youth programs and improve the lives of many.

While I’ve described three examples of how I’ve witnessed Harlan’s passion, giving back to
community, thoughtfulness, and leadership, I’ve also seen his commitment to his family.
His everlasting love of his kids and wife is one that I am most impressed with, and have
witnessed over the last couple of decades which I hope to emulate when I get married and
have children in the future. I am aware Harlan has an upcoming sentencing for the serious
criminal offences and I hope my letter provides wholistic view of his contribution to our
society and recognize his compassion as a consideration.



Very truly yours,




Brook Mebrahtu




                                                                             HK-SENTENCING-0022
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 27 of 144




                                                      HK-SENTENCING-0023
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 28 of 144




Christina Brooks
659 9th AVE
San Francisco, CA 94118
(415) 846-0660
cbrooks1000@gmail.com


8th January 2024

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

       RE:   United States v. Harlan Kelly, Jr.
              Case No.: 3:21-CR-00402


Dear Honorable Judge Seeborg,

I am writing to offer what I consider to be valuable insights into the character and moral compass
of Harlan Kelly, Jr., as you prepare to impose sentencing in his case.

I offer this perspective as a close friend of Harlan, Naomi, and their family, for the past 25 years.
In that time, I have had hundreds of opportunities to witness Harlan’s unwavering commitment to
his family, his friends, and the people of San Francisco whom he served. From my view, Harlan
was one of those people blessed with a true passion for his career and enthusiasm for the
opportunities it afforded to positively impact people’s lives. Our families are very close. My
husband considers Harlan a trusted friend and advisor. Naomi and I share laughter, tears, joy, and
fears. Our children have grown up together and I have been so proud of my two boys, ages 20
and 18, as they stepped in to act as pillars of strength for Trey and Mason Kelly over the past
three years. This situation has not been easy to explain to teenage boys, and peers haven’t
always been kind.

The Kellys have spent the last several years navigating the worst duress you could imagine these
charges would bring. Lost friends, lost jobs, lost financial stability, lost confidence, lost hope. The
FBI raided their home while Trey and Mason were present. The children understand that their
father made serious errors in judgment. They cruelly and unfairly carry the burden of not being
able to do more to help “save” their dad and ease his burdens. Trey and I spoke privately two
weeks ago, and it was a troubling conversation. He is carrying so much unwarranted
responsibility and guilt for the situation. He wanted to testify during the trial about the China trip,
and he was upset his parents would not let him take on that burden. He also has great concern
about leaving Mason at home this coming fall when he is expected to depart for university.


                                                                                  HK-SENTENCING-0024
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 29 of 144




Judge Seeborg, Harlan has been a steadfast source of strength, support, and encouragement,
not just for my family, but our larger school, athletic, social, and civic communities. I have only
experienced him being a gracious human being, a loving and devoted husband and father, and a
deeply loyal friend. His devotion to the City of San Francisco served as a shining example for me
of how this work should be done. Not once have I witnessed any of the behaviors for which
Harlan has been convicted.

I sat in the courtroom for the majority of Harlan’s trial, missing only two days, and I took copious
notes during testimony and while viewing the exhibits. I was waiting with Harlan in the
courthouse while the jury deliberated the verdict. After that verdict was read in your courtroom, I
rode home with him in the car. The hardest part of those moments, especially that car ride, was
listening to Harlan express his deep remorse for his actions. He mourned the harm he brought to
his family, and he deeply feared the time he may spend away from them and the financial distress
he has brought to them. He also spoke about his great concern that the public’s trust in the City
of San Francisco would be eroded, and the many wonderful people still serving San Francisco
would suffer hardships due to the lack of trust in government that this conviction would bring. I
respect the jury’s decision, but knowing both the prosecution’s star witness and Harlan for over
two decades, I believe in Harlan. It has always been his nature to be generous, sometimes to a
fault.

It is clear to me that Harlan has reflected deeply on his actions that resulted in this conviction. I
believe he understands what he did was wrong, is remorseful, and would never again make the
same decisions. He and his family have already experienced severe consequences, and Harlan’s
future will be determined by you.

I comprehend the severity of the charges against Harlan, and there is no doubt in my mind that
he has taken accountability for his lapses in judgment. He is committed to making amends in any
way he can, and he would welcome opportunities to do so. Thank you for taking the time to
consider my perspective as you make the final determination on his sentence.

Sincerely,




Christina Brooks




                                                                                 HK-SENTENCING-0025
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 30 of 144




                                                     HK-SENTENCING-0026
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 31 of 144




                                                      HK-SENTENCING-0027
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 32 of 144




                                                      HK-SENTENCING-0028
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 33 of 144




                                                      HK-SENTENCING-0029
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 34 of 144




                                                      HK-SENTENCING-0030
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 35 of 144




                                                      HK-SENTENCING-0031
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 36 of 144




                                                      HK-SENTENCING-0032
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 37 of 144




                                                      HK-SENTENCING-0033
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 38 of 144




                                                      HK-SENTENCING-0034
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 39 of 144




                                                      HK-SENTENCING-0035
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 40 of 144




                                                      HK-SENTENCING-0036
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 41 of 144



Edward D. Reiskin
15490 Two Bar Rd
Boulder Creek CA 95006
(415) 205-5481
ereiskin@gmail.com
                                                                   November 11, 2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 - 17th Floor
San Francisco CA 94102

       RE:     United States v. Harlan Kelly, Jr.
               Case No.: 3:21-CR-00402


Dear Honorable Judge Seeborg,

My name is Ed Reiskin. I am a career civil servant, husband, and father of three. I am writing in
support of Harlan Kelly to provide some perspective as the court considered sentencing for what
I understand are serious criminal offenses. I have known Harlan for roughly 15 years, both
professionally from working in San Francisco city government and personally as our children
attended the same school.

Over work meetings, family meals, and social events, I have had opportunity to see Harlan’s
whole self and we have become friends; breaking bread and discussing challenges of work,
parenting, and life generally. Many people in San Francisco are aware that Harlan has been a
pillar of the community who “reaches back” to help afford young people opportunities for growth
in the field of engineering, but he also helps his neighbors in quieter ways. My wife and I have
observed him strengthen youth and families at every turn, from taking in the needy neighbor kid
for informal mentoring to extending a camping opportunity to families in need of nature and
respite. Harlan and his wife Naomi helped our family when we were in need and they did so
without expectation of reciprocity.

Beyond his many contributions and achievements, Harlan is simply a good man of faith from
humble origins who never pauses before helping others. Dinner with the Kellys is always about
love and learning and they set the platinum standard for a partnership with work-life balance in
action. They epitomize strength in the struggle. The Kellys were the first outing we ventured out
for when covid restrictions were lifted.




                                                                              HK-SENTENCING-0037
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 42 of 144



In all of my and my family’s interactions with Harlan, he has proven a thoughtful, intelligent
family man. To this day, I would wholly trust him with my children and my family resources alike.

Along with being an active, attuned parent (Harlan served as coach and math tutor to his two
fine sons), his concern for the common good stretches in ways formal and informal. He has
cooked our family dinner when we were recovering from illness and offered good counsel for
personal and professional issues alike. He has shared his family with ours, including his father
who presided over the supper’s prayer and kept us all riveted with stories of being a man of
color and an entrepreneur. When our son became interested in pursuing a small business
dream, Harlan availed himself in an encouraging manner and shared his family knowledge in
the field. When work stressors became heavy, he was a good listener and source of support. I
view him foremost as a decent human.

We have read the unfortunate articles related to this case in the SF newspapers and remain
firmly, unequivocally supportive of Harlan’s capacity to redeem himself in the eyes of the law, if
afforded the opportunity. Along with his strong wife Naomi and their unwavering faith, family
and community, Harlan is fortified with the resources to take accountability and continue to be a
source of light to so many people. Considering all the good Harlan has brought to the City of
San Francisco and the Sunset District, we humbly implore for sentencing that sees the whole
man he is, as we see him. And we will continue to consider him a friend, regardless.


                                                                    Very Truly Yours,




                                                                    Edward D. Reiskin




                                                                              HK-SENTENCING-0038
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 43 of 144




Edward “Ted” Heniﬁn
802 Lakeland Drive, Apartment 414
Jackson, MS, 39216
757.274.7904
ted@jxnwater.com

January 14, 2024

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

RE:    United States vs Harlan Kelly, Jr.
       Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

I am writing you in support of Harlan Kelly, Jr., a friend, and professional colleague for
nearly a decade. I am currently working in Jackson, Mississippi as the Interim Third-Party
Manager of the Jackson water and sewer system. I was appointed to this position on
November 29, 2022, by the Honorable Henry T. Wingate, US District Judge for the Southern
District of Mississippi, Northern Division. My appointment was the culmination of months
of work by the Department of Justice and the US Environmental Protection Agency after the
water system in Jackson failed in August 2022, leaving 160,000 residents of the capital of
Mississippi without water for weeks. In the 13 months since my appointment, we have
made tremendous strides in stabilizing and repairing the water system. While there is
much more work to do, our customers are gaining conﬁdence in the system and getting
safe drinking water every day.

The Jackson appointment is the capstone to my 41+ year career in public works and
utilities. I have been a public servant my entire career serving at the Federal, state, regional,
and local levels. I met Harlan at a convening of utility leaders in Washington, D.C. in
October 2013. Harlan had been recently appointed to lead the SFPUC and thought building
connections and relationships with other utilities across the US would be beneﬁcial. He
was right. The connections and relationships built at that convening lead to signiﬁcant
improvements in utility services across the country. The group continued to meet in-person
occasionally and by conference call for years. The group organized into the Water Agency
Leaders Alliance (WALA) and continues to meet regularly to address common challenges
facing water utilities across the nation. WALA has successfully made water workforce
development a top national priority. WALA’s work on affordability led to the two-year pilot



                                                                             HK-SENTENCING-0039
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 44 of 144




of a national Low Income Household Water Assistance Program (LIHWAP) that provided
billions in Federal Assistance to households challenged to pay their utility bills.

The utility leaders that participated in WALA received support and solutions from their
counterparts, advice and counsel they would not have had access to without WALA. From
that ﬁrst convening, Harlan led this important work, dedicating SFPUC resources as staff to
WALA. WALA would not exist without Harlan selﬂess support.

At the SFPUC, Harlan created a model community beneﬁts program that has been
emulated by many utilities, large and small, throughout the US. The program is based on
the basic concept of having consultants and contractors, beneﬁting from signiﬁcant
investments in a community’s infrastructure, should give back to that community in the
form of workforce training, support of local non-proﬁts, community projects, etc., to ensure
the broader community’s social infrastructure is improved with the physical infrastructure.
Without Harlan’s leadership, this would never have happened in communities from
Hampton Roads, Virginia, to San Francisco and many, many places in between.

I am aware that Harlan faces sentencing for serious criminal offenses. As I have described
above, based on my personal and professional relationship with Harlan, I ﬁnd it hard to
believe he is in that situation. I would ask you consider Harlan’s body of work across his
long career of public service in your sentencing decisions. Beyond San Francisco, Harlan
has had such a positive impact on utilities across the country and through them directly to
the lives of those hundreds of thousands of families who have been the recipients of better
service, Federal assistance with paying bills, and community programs that were
supported or started with a utility’s community beneﬁt plan.

I attribute my appointment to my current position to my relationship with Harlan. Through
Harlan and WALA, I became involved with the US Water Alliance (led by a former employee
of Harlan’s). It was my work with the US Water Alliance that brought me to Jackson to lend
support during their Federally declared water disaster in September 2022. It was that work
that exposed me to the US Environmental Protection Agency and the Department of Justice
team working on the long-term solution to Jackson’s water challenges. The citizens of
Jackson, Mississippi, may not know they too were touched by the selﬂess work of Harlan
Kelly, Jr.

Sincerely yours,




Edward “Ted” Heniﬁn




                                                                         HK-SENTENCING-0040
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 45 of 144




Emilio Cruz
4960 Desmond Street, Oakland CA. 94618

(415) 844-0522

cruzonpoint@gmail.com




The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern California District
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

        RE: United States v. Harlan Kelly, Jr.
        Case No.:3:21-CR-00402

Dear Honorable Judge Seeborg,

I have been acquainted with Mr. Harlan Kelly, Jr. for 35 years. We first met in 1987, when I was a student
trainee for the San Francisco Department of Public Works.

The entire time that I have known him, he has been in public service for the City and County of San
Francisco. After we graduated from our respective universities, we both worked for the Department of
Public Works. Being of the same cohort, and coming from rival schools, we began a friendship and
camaraderie that has lasted through the 35 years. Though he stayed with the City and I chose to leave
for the private sector, our paths continued to cross and our friendship remained.

In 1996, while we were both working for the City, I separated from my wife and we began divorce
proceedings. As she was an attorney for a successful corporate law firm in Palo Alto, her income was
three times that of mine. Her income was the reason why we were able to purchase a home in San
Francisco. Given that, it seemed fair to me that she should keep the house. When I moved out, Harlan
offered me his spare bedroom until I could secure a place for myself. This act of generosity towards
someone in acute need was not uncommon for Harlan. He often thinks of others and tries to help
people. So much so that I believe some people have taken advantage of him over the years.

Though his positions with the City were all technical in nature, he always expressed concern for
underserved populations. While at the Department of Public Works, he and his best friend Robert Mason
began a program called Project Pull, to reach into underserved communities and offer high school aged
boys and girls a paid summer internship at the Department of Public Works in order to expose them to
technical careers. This early exposure is critical because for a student pursuing an engineering degree,
they must begin the selection of their coursework in their sophomore year of high school in order to
improve their chances of graduating from a four year university with a B.S. degree.




                                                                                     HK-SENTENCING-0041
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 46 of 144




Years later, when I returned to public service as the Assistant General Manager for the SF Public Utilities
Commission, Project Pull was still in place and had grown from the original cohort of about a dozen
students to well over ten times that number. Additionally, Harlan worked with the Sheriff's Department
and the SFPD to fund a program called the Garden Project. This program worked with a 501© 3 to offer
at risk youth identified by the SFPD the opportunity to learn job readiness and basic agricultural skills at
a facility provided by the Sheriff's Department. This diversion program offered a paid internship to youth
in San Francisco, getting them off the streets in the summer and into basic training that could help them
secure living wage jobs in the future.

Finally, the SFPUC also created an internship program for blue collar positions within the Wastewater
Enterprise. Civil service positions within Wastewater offer a great career at a living wage and many
positions do not require a college degree.

Harlan has spent decades making an effort to help underserved communities, especially in San Francisco.
He is generous and tries to help people. He may have tried to help the wrong people in the wrong way,
but it seems to be in his nature to try to help.

Sincerely,



Emilio Cruz




                                                                                      HK-SENTENCING-0042
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 47 of 144




                                                      HK-SENTENCING-0043
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 48 of 144




                                                      HK-SENTENCING-0044
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 49 of 144




                                                      HK-SENTENCING-0045
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 50 of 144




                                                      HK-SENTENCING-0046
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 51 of 144




                                                      HK-SENTENCING-0047
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 52 of 144




                                                      HK-SENTENCING-0048
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 53 of 144




Gg

Gerald Green.                                                         December 14, 2023
7765 Greenly Drive
Oakland, CA 94605
415-377-5286
gerald g green@yahoo.com


The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Ave
Courtroom 3- 17th For
San Francisco, CA 94102

Re: United States v. Harlan Kelly, Jr
    Case No. : 3:21-CR-00402

Dear Honorable Judge Seaborg,

I am writing to express my for Harlan Kelly, Jr., defendant in the matter of U.S. v. Harlan
Kelly, Jr.

r would like to begfn by brfefly fntroducfng myself and· clarifyfng my refatfonshlp with Mr.
Kelly. From 1984 to2004 I was a staff member of the San Francisco Planning
Department. The last eight years of my career at the Planning Dept. I was privileged to
serve as Director of the Dept., appointed to that position by Mayor Willie Brown, Jr. in
1996. During that period, Mr Kelly was Deputy Director with the Dept. of Public
Works(OPW)· and·the Assistant G·eneraf Manager of the SF p ·ub1ic Uli1it1es
Commission(SFPUC). The Planning Dept., DPW and SFPUC require significant
interaction and coordination to carryout work programs and responsibilities. It is under
these circumstanc es that we first met.

t retired" in ·2 005 from-the C1tyandCo unty ofSan Fra,miseo- and nave-maintained my
friendship with the Kelly family and have followed the growth of his two sons. His family
and especially sons Trey and Mason mean everything to he and Naomi and I'm sure it
is extremely difficult to face them with the reality of his mistakes.



                                                                        HK-SENTENCING-0049
      Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 54 of 144




I have known Harlan for more than 25 years, and during this time I've recognized that
Public Service and Integrity are significant to him and help define who he is. He chose
to remain working in Local Government instead of taking a high paying position at an
Engineering Firm in the private sector. Serving his Community meant something to him.
He demonstrated to me long ago that Public Service requires Integrity to be trusted
and successfur rn respondTng to community needs.

 I recognize that Harlan has lost the trust he had established because of his actions. I
also cannot ignore Harlans past actions that helped to build that trust and integrity in
the Community. Past actions that included working with my staff (at the Planning Dept.)
during my tenure at as Planning Director to strengthen relations and·communications
between our agencies by devoting staffing and funding to allow what the Planning
Dept. could not include in it's budget. Harlan also promoted diversity within both the
agencies responsible for by promoting women and people of color to positions
historically unavafl-abre beforehand. I cannot ignore his recognftfon by KQED/Unfon
Bank a-s on-e offour loeatthemes- beeause- ofttre iobs' amt opportunities-forlo-eat peup1e
created under Kaplan leadership.

It may be unreasonable to expect people to trust Harlan again after the guilty verdict in
his trial. However, Harlan deserves a chance to restore h1s -integrity and again
contr~bute-to·h1s oommun1ty. ~t ~s up·to·htm to·do·the-personal reffect~on-, therapy work
and community retribution to begin the restoration of his integrity. I ask the Court to
consider Harlans character, his accomplishments and the support he still has in the
Community in determining an appropriate sentence in resolving this case. Again, I
believe he is capable of contributing positively to his community.

I trust that your judgement will be fair and take into consideration the complete picture.
Sincerely,




Gerald Green




                                                                       HK-SENTENCING-0050
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 55 of 144




                                                      HK-SENTENCING-0051
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 56 of 144




                                                      HK-SENTENCING-0052
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 57 of 144




                                                      HK-SENTENCING-0053
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 58 of 144



                                             James Kramer
                                          1011 Church Street
                                        San Francisco, CA 94114



January 9, 2024




The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

        RE: United States v. Harlan Kelly, Jr. Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

I am writing this letter in support of Harlan Kelly, Jr. I have known Mr. Kelly for over twenty years as a
board member and fitness member of the Embarcadero YMCA. During this time, I have had the
opportunity to work directly with Mr. Kelly on matters important to the YMCA and its mission. I am writing
to share my personal observations of Mr. Kelly in hopes that you take them into consideration when
sentencing him later this month.

As an initial matter, I offer that Mr. Kelly is very community focused. For many years, he was an active
member of the YMCA Board of Managers and a leader in our efforts to protect and mentor the
underserved in San Francisco. Constituents served include students attending the YMCA’s Youth
Chance High School, a community school that is operated through a partnership between the
Embarcadero YMCA, San Francisco Unified School District, and the San Francisco Department of
Education. Students are young people ages 16-19 years old who have severely fractured relationships to
education, academic institutions and how they see and experiences themselves as learners. Mr. Kelly
devoted his time and financial resources to this worthy cause.

In addition to serving the YMCA’s mission, Mr. Kelly has been a mentor to many members as part of a
thrice weekly pickup basketball game. I have witnessed first-hand Mr. Kelly providing advice and
guidance to members on all matters of issues, both personal and professional.

I appreciate that Mr. Kelly was convicted of serious offenses. Nothing in this letter is meant to diminish
this. Rather, my goal is to provide you some insights into Mr. Kelly as a person that likely did not come
out at trial. I would ask that you consider the good Mr. Kelly has done and I expect will do in the future as
part of any sentence.

Regards,




Jim Kramer


                                                                                       HK-SENTENCING-0054
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 59 of 144




                                                      HK-SENTENCING-0055
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 60 of 144




                                                      HK-SENTENCING-0056
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 61 of 144




Janice Ewing
555 Jean St., #517
Oakland, CA 94610
(707) 704-4181
jnmewing@yahoo.com

                                       December 13, 2023


The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 — 17th Floor
San Francisco, CA 94102


       RE:     United States v. Harlan Kelly, Jr.
               Case No.: 3:21-CR-00402


Dear Honorable Judge Seeborg,


        I am a retired educator who still periodically subs for Berkeley Unified School District
(BUSD). I am a former military kid and proud daughter of a former Tuskegee Airman, Major
James A. Ewing Jr. Because of my father, I was privileged to live in France and Japan for
approximately three years each. Because of Oakland Unified School District (OUSD), I was
privileged to live in Cuernavaca, Mexico for approximately 6 weeks for a better understanding of
the Spanish culture and language.


For my personal survival and peace of mind I have been forced to learn many languages
(including body language) which often reveals to me the inner character of strangers, students,
and friends alike.


I started formally teaching at OUSD in 1982 and San Mateo Foster City School District in 1989.
In the 1990-1991school year, I secured a permanent position at Abbott Middle School. I rented a
room in the Little household to reduce my commute for the next seven years.




                                                                              HK-SENTENCING-0057
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 62 of 144




I met Harlan Kelly when Naomi brought him to her Aunt Ida’s home to meet her family after
getting engaged.


        Mr. Kelly impressed me as a gentleman and typical scholar of the San Francisco 49ers
football team.


       As Naomi and Harlan’s family of two grew to welcome two sons into their legacy I was
periodically invited to join them at the eldest son’s basketball games that were held in various
Oakland facilities.


        From Harlan’s insistence of including me in the celebration of his mother-in-law, Maria’s,
70th birthday to the funeral of Mr. Little (his father in law) I have always been impressed with
him being a positive role model to his sons and a strong influence to the family’s legacy of
commitment to community values.

       Finally, it is hoped that whatever sentence is administered to Harlan that it does not
prevent/reduce his ability to continue his positive behaviors to his sons and other young men in
the community at large.


       As a teacher with over 30 years experience, I have learned as much from my students/
parents as they have from me. I consider Harlan Kelly to be a gifted/talented role model that
could continue to help the greater community in spite of his mis-steps.


                                        Very truly yours,




                                          Janice Ewing




                                                                              HK-SENTENCING-0058
             Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 63 of 144



                                                                                           l=, 5 tJ r<
e i;s$$g,
                                                                                           lY -6!'
                                                                                           13 !^ -3
     d 6
+-,t'9d sg
5'e-E€iRd                                                      F                           11 tifs
                                                               ttJ                         l='* 3 I
                                                                                           is3zE.
FF*EIg3                                                     9;
                                                            rs
                                                                                           EaP
                                                                                           lio'
f llsq s;                                                   z\
                                                            .\-
                                                            c--V)
                                                                                           l(1
                                                                                           lc
                                                            "st
                                                            3$
                                                            is                  oo
                                                            9S
                                                            t*
                                                            E!                       z
                                                            SF                       o
                                                              .=                     (D
                                                              -tt
FEEiiFi                                                        :r'                   s
                                                                                     (,
                                                                                     o
FAgFfg*                                                                              N)
                                                                                     o
                                                                                     l.J
                                                                                     t,

E EFFEgE
flAF s H"I


[FglFi$
         o



                                                                                 HK-SENTENCING-0059
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 64 of 144



                                                         La
                                                                          c-Et { zEf€
                                                                          rt
                                                         'tt
                                                                    t?
                                                                   a?     3t
                                                                          E'o ag $E
                                                         D         g      mo\
                                                                          5*
                                                         6
                                                         Fl
                                                                   o
                                                                               g€Eg
                                                                   c      $E
                                                                   3        ET
                                                                            b
                                                                            o     3I3F
                                                                            F
                                                                            o
                                                                            s
                                                                            H
                                                                            rf.
                                                                            D
                                                                                  t$rr
                                                                            Fl
                                                                            !0
                                                                            F      *r*
                                                                                   E.xF
                                                                            o
                                                                            o      fi Fr
                                                                            ,t
                                                                            E      gFF
                                                                            E      ts Pa'
                                                                                    S FE
                                                                            o       a 9.8
                                                                                   -rb
                                                                            ('D
                                                                            J.     =f(a'
                                                                            t'D
                                                                            !0
                                                                            :r     B.? H.
                                                                            ('D
                                                                            e      g.s a
                                                                                   <s6='
                                                                                     aB
                                                                            t
                                                                            D

                                                                            D
                                                                                   E$E
                                                                            co
                                                                                   EEE
                                                                                   r.)(e
                                                                            3
                                                                            !0
                                                                                   3g 6
                                                                            ta
                                                                            no
                                                                           m
                                                                            I
                                                                            A.
                                                                                   gaE
                                                                            n0

                                                                            o


                                                                         HK-SENTENCING-0060
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 65 of 144




                                                 HK-SENTENCING-0061
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 66 of 144




                                                      HK-SENTENCING-0062
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 67 of 144




                                                      HK-SENTENCING-0063
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 68 of 144




                                                      HK-SENTENCING-0064
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 69 of 144




                                                      HK-SENTENCING-0065
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 70 of 144




                                                      HK-SENTENCING-0066
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 71 of 144




                                                      HK-SENTENCING-0067
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 72 of 144




                                                      HK-SENTENCING-0068
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 73 of 144




                                                      HK-SENTENCING-0069
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 74 of 144




                                                     HK-SENTENCING-0070
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 75 of 144




                                                     HK-SENTENCING-0071
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 76 of 144




                                                     HK-SENTENCING-0072
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 77 of 144




                                                      HK-SENTENCING-0073
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 78 of 144




                                                      HK-SENTENCING-0074
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 79 of 144




                                                      HK-SENTENCING-0075
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 80 of 144




                                                      HK-SENTENCING-0076
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 81 of 144




                                                      HK-SENTENCING-0077
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 82 of 144




                                                      HK-SENTENCING-0078
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 83 of 144




                                                      HK-SENTENCING-0079
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 84 of 144




                                                      HK-SENTENCING-0080
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 85 of 144




                                                      HK-SENTENCING-0081
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 86 of 144




                                                      HK-SENTENCING-0082
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 87 of 144



Marie-Claire Rensch
701 Pennsylvania ave #207, San Francisco, CA 94115
415-948-9534
marieclaireaar@gmail.com

11/27/2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 - 17th Floor
San Francisco, CA 94102

        RE: United States v. Harlan Kelly, Jr.
        Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

 Since meeting Harlan Kelly, Jr., while working for the City and County of San Francisco in 2016,
.and over the years since getting to know his family, one thing has always rang true about
 Harlan, he is a stand-up individual who cares deeply about his family and community. Whenever
 I speak with Harlan, I know, I will get an exciting update about his sons and how they are
 excelling in their activities- he is not only proud of his children but so active in their lives. From
 rooting for their academic achievements to attending their games, seeing Harlan's relationship
 with his children is so heartwarming. He has clearly worked to build a strong foundation for them
 both. Harlan and his family have always welcomed me in their home, celebrating my exciting
 milestones in my life and welcoming me to celebrate moments in theirs as well, and that is
 something that is not unique to me but I have seen that that is how he is our other mutual
 acquaintances. What also stands out to me when thinking of Harlan, is his dedication to building
 community in San Francisco. I have been fortunate to reach out to him for advice and without
 hesitation, he makes the time to not only share sound advice but also check back and see how
 else he can be of assistance. He is a pillar and helps keep his community anchored. Harlan has
 shown the true and lasting impact of leading with compassion and trust. His leadership style has
 helped me shape how I approach my work and career growth. From his work in building career
 pipelines while leading the SFPUC, and seeing firsthand how that has helped and opened
 opportunities for so many San Franciscans, Harlan is always looking out for the good of so
 many without looking what he can gain from it.

                                Warm
                                   ,.



                                Marie-Claire RENSCH




                                                                               HK-SENTENCING-0083
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 88 of 144




                                                     HK-SENTENCING-0084
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 89 of 144




                                                     HK-SENTENCING-0085
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 90 of 144




                                                      HK-SENTENCING-0086
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 91 of 144




                                                      HK-SENTENCING-0087
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 92 of 144




                                                      HK-SENTENCING-0088
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 93 of 144




                                                      HK-SENTENCING-0089
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 94 of 144




                                                      HK-SENTENCING-0090
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 95 of 144




                                                      HK-SENTENCING-0091
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 96 of 144




                                                      HK-SENTENCING-0092
    Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 97 of 144
                      NEIL              HALLINAN
                         Attorney at L aw

                       345 FRANKLIN STREET, SAN FRANCISCO, CA. 94102
                  1432 MARTIN LUTHER KING, JR. WAY, OAKLAND, CA. 94612

                               PH: 415–837–3449 | F: 415-366-3063

               WWW.HALLINANLAWFIRM.COM | NEIL@HALLINANLAWFIRM.COM




September 5, 2023


Honorable Richard Seeborg, District Judge
United States District Court, Northern District of California
San Francisco Courthouse, Courtroom 3 – 17th Floor
450 Golden Gate Avenue
San Francisco, CA 94102


Your Honor:

I write this letter in support of Harlan Kelly, who I have known since I was 19 years old in 1998.
I am a fourth generation San Franciscan, now a third generation San Francisco trial attorney. In
the early stages of my professional career, Mr. Kelly’s mentorship was instrumental in setting the
course which eventually took me to law school. Between the news of his indictment and the
news of the verdict, I did not follow the evidence, so I do not offer this letter as a comment on
the case; I do offer my view of Mr. Kelly which I ask you to consider as mitigation in reaching
your decision as to what the appropriate sentence will be.

Though my career path has taken me far from anything close to engineering, I would not be
where I am today had I not had Mr. Kelly as a mentor in my late teens and into my early
twenties, as my professional life took hold and I found my grounding in the real world. From my
experience, I am confident that I am not the only one to benefit from Harlan Kelly’s mentorship
and commitment to helping others find their way. In fact, I am one of at least hundreds.

I first met Mr. Kelly when I was in college at the University of Oregon, home for summer break
between my sophomore and junior years, when he hired me to help run a summer program that
he had designed, which placed high school students from lower-income families in engineering
internships in various San Francisco City departments. At the time, he was the City Engineer – a
very important and time-consuming job, the position once held by Michael O’Shaughnessy when
the dam that bears his name was built – yet Mr. Kelly still made the time to give back to
communities like the one from which he came, to ensure that youths with similar backgrounds



                                                                          HK-SENTENCING-0093
    Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 98 of 144




and challenges were given opportunities to achieve their goals and dreams. He had designed the
program, for which a private architecture firm had been retained by The City to facilitate, but in
which Mr. Kelly remained engaged in the management and direction.

I recall Mr. Kelly’s role in our weekly meetings where we discussed the conduct of individual
participants, including any trouble they were having with, or causing in the program, and what
we could do to enhance the likelihood of each participant benefitting from the program. Mr.
Kelly did not just sit in the meetings and offer general advice: I recall that each week he would
ask about the progress of specific participants who we had discussed the previous week – who he
would probably never actually meet, personally – and yet he managed to follow their trajectory
and offer advice as to how we could assist each of those individuals in reaching a successful
completion of the summer program. It was clear then that Mr. Kelly genuinely wanted these kids
succeed, even though they may never have even heard of Harlan Kelly.

Though that summer program was 25 years ago, the Harlan Kelly I have continued to know over
the years has always been the same person to me, though it has been at arm’s length as the years
progressed. Subsequent to my college graduation in 2000, I would reach out to Mr. Kelly on a
few occasions seeking professional advice, and he was always willing to meet in person to hear
my own concerns, answer my questions, and provide me with advice. I began law school in
2003, and would thereafter only encounter Mr. Kelly on rare occasion, but he always seemed to
retain a genuine interest in my progress and success in life, and appeared to light up every time I
would tell him what I was up to. I say that not to suggest that Mr. Kelly and I have a particularly
special relationship, but to underscore that I am obviously just one of many people on whom
Harlan Kelly has had a positive effect, so the degree to which he still cares demonstrates the
selflessness he possesses, and that after investing his time, energy, and compassion in others, he
continues to take pride in their success.

One reason I always valued Mr. Kelly’s advice was because I had been so inspired by his own
personal success story. Whereas I was raised with privilege and in comfort in San Francisco, and
as a teenager never understood the necessity of hard work, Mr. Kelly came from Fresno, worked
hard to get into U.C. Berkeley on a scholarship, and put himself through college by tutoring
other students in math. Though my heart was idealistically in public service, I never considered
the hard work that it actually requires. Harlan Kelly, however, was one of a few people who, by
their story and their deed, motivated me to start breaking a sweat to accomplish something. He
had earned his way from humble beginnings to his prestigious job as the General Manager of the
P.U.C. He spent time on every step of the ladder from the bottom to the top, and earned the
admiration and respect of everyone around him each step along the way through his own hard
work, maintaining an eye toward helping, and expanding opportunities for others.




                                             2
                                                                           HK-SENTENCING-0094
    Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 99 of 144




The last time Mr. Kelly and I saw each other was in 2019. We had bumped into each other and
made a date for lunch. I met him at his office at the P.U.C., where he gave me a tour and told me
about the new building, of which he was very proud. By that time, I was in my 40’s and had
recently established my own private law practice, yet Harlan treated me to lunch and still
demonstrated great interest in how my career had developed, seemingly as interested as he would
have been had he been mentoring me right up until that very day.

Whatever the Court’s view of Mr. Kelly may be, based on the evidence, I respectfully request
that Your Honor consider everything I have written as mitigation to aid in formulating the most
well-rounded view of Mr. Kelly necessary for the imposition of a just sentence. If Mr. Kelly is
allowed to remain in a position where he can help others, I have no doubt he would do that and
that others would benefit from the wisdom he has developed from his own life experience, which
will not be diminished by the developments in this case.

Respectfully,



Neil Hallinan




                                            3
                                                                         HK-SENTENCING-0095
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 100 of 144




                                                       HK-SENTENCING-0096
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 101 of 144




                                                       HK-SENTENCING-0097
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 102 of 144




                                                       HK-SENTENCING-0098
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 103 of 144




Paul K. Goodwin
24724 Sagecrest Cir
Newhall, CA 91381
(559) 307-4458


January 11, 2024

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

       RE:     United States v. Harlan Kelly, Jr.
               Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,


My name is Paul Goodwin. I am a Boeing 787 Captain at United Air Lines. I’ve worked here for
almost 34 years. Prior to that, I ﬂew the C-130 Hercules for the United States Air Force for 6
years, mostly out of Pope Air Force Base in North Carolina.

Harlan Kelly was my neighbor growing up. I’ve known him since I was approximately 16 years
old. Harlan is the only Black person, in fact, the only minority (outside of my older brother), with
whom I’ve ever studied math. We’d sit at his kitchen table, or our dining room table and break
down algebra and pre-calculous equa�ons. We’d even come up with our own equa�ons that
weren’t in the book. We wanted to know the logic, backward and forwards. Not just for a grade,
but because we just wanted to know. It wasn’t uncommon for us to have geek jokes like…” You
have a trapezoid head,” etc. It didn’t seem odd back then, but as I’ve goten older, I realize those
were the years that prepared me for what lay ahead.

Whatever success I’ve had, I have to at least give some of the credit to those fun and
challenging �mes with Harlan. No mater what the world wanted me to believe, I always knew
there were people like me out there, who cared about mathema�cs and the sciences.

I went on to graduate from Fresno State University. I majored in chemistry. Something went
wrong my senior year. I had promised the Air Force I would graduate on �me. But there was one
class I had to take, but I hadn’t taken the prerequisite. If I didn’t graduate on �me, my pilot slot
would be taken away. So, I pe��oned the University to allow me to take both classes
congruently. They accepted, and it all worked out (with a few 16-hour lab days). But I was back



                                                                               HK-SENTENCING-0099
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 104 of 144




in the same situa�on. There was a problem in front of me, just like in high school, and
everything was there, and I had to force the equa�on my way. A mindset Harlan and I had relied
upon for years.

It is my humble and personal opinion that Harlan has missed his calling. He should have become
a math or engineering teacher or professor. In the late 90s, at the height of the gangster rap
craze, I volunteered to tutor at Crenshaw High School in Los Angeles. That lasted less than a
week. The classes started out with dancing. Yes…four girls dancing. Normally, the teacher got
the crowd under control a�er 30 minutes of a 50-minute class. The basketball star had never
heard of supplementary angles, and couldn’t subtract 180 degrees from any number to arrive at
the correct answer. I hated to leave, but to help the most people, I oﬀered my services at
Horace Mann School. The kids were younger. I set up a desk and took a maximum of 3 students
at a �me. Some of the boys liked baseball, so I brought in baseball cards, and we ﬁgured out the
ba�ng averages. Harlan can do this to the nth degree!!

My �me with “HK,” or “Big H,” led to me being able to help others. And those others can help
even more. Harlan can be instructed to set up a ‘real’ engineering inner-city course. He can
personally take them to engineering sites for hands-on training. Real-life engineering with a
real-life engineer. What a break for these kids if there’s a way to make it all happen. I would urge
the court to make the most of this bad situa�on, allow Harlan Kelly to land on his feet, and help
as many people as possible.

Thank you very much for your �me,



Captain Paul K. Goodwin




                                                                               HK-SENTENCING-0100
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 105 of 144




                                                       HK-SENTENCING-0101
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 106 of 144




                                                       HK-SENTENCING-0102
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 107 of 144




                                                      HK-SENTENCING-0103
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 108 of 144




                                                      HK-SENTENCING-0104
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 109 of 144




                                                       HK-SENTENCING-0105
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 110 of 144




                                                       HK-SENTENCING-0106
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 111 of 144




                                                       HK-SENTENCING-0107
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 112 of 144




                                                       HK-SENTENCING-0108
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 113 of 144




                                                       HK-SENTENCING-0109
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 114 of 144




                                                                                  December 16, 2023
The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

       RE:    United States v. Harlan Kelly, Jr.
               Case No.: 3:21-CR-00402


Dear Honorable Judge Seeborg:

My name is Ryan Brooks and I have had the pleasure of knowing Harlan Kelly since 1994. In that time, he
has been a mentor to me, a dear friend, and a professional colleague. When I served on the San
Francisco Public Utilities Commission as a commissioner from 2003 - 2008, Harlan reported to the
Commission as the Assistant General Manager of the SFPUC. At that time, he was in charge of the $4.3
billion Water System Improvement Program. I am humbled to have this opportunity to write a character
reference letter in support of Harlan.

I grew up in Southern California, graduated from San Diego State University, and landed my first job in
San Francisco in 1992, working at an environmental engineering company I met Harlan shortly
thereafter. As a lost and freshly minted college graduate, I was seeking personal and professional advice
on how to navigate my new city of 800,000 people, the concrete jungle of the Financial District, and the
hysteria of the dot-com explosion. A mutual friend said, “You need to meet Harlan Kelly”. When I met
Harlan, I couldn’t imagine the positive impact that he would have on my life. I was excited to talk to
Harlan because of his reputation as a leader in the community and his willingness to help others,
especially people of color. From the day we met, Harlan quickly made me feel at ease, and a 30-year
friendship was born.

As our friendship grew, I learned about his background, his family, his moral compass, work ethic,
generosity, and empathy. Harlan was well-armed with an Engineering Degree from UC Berkeley and a
heart of gold. Through hard work and determination, Harlan worked his way up the ladder of city
government. At the Department of Public Works and the San Francisco Public Utilities Commission,
Harlan’s focus was helping others, elevating his staff, and creating programs like “Project Pull”. Project
Pull started in 1996 as an internship for minority high school and college students. Harlan believed that
he could “pull” young people into public service by introducing them to public service opportunities
early in their careers. The program is thriving today, and Harlan’s vision has mentored and elevated
countless young San Franciscans.

During my tenure as a San Francisco Public Utilities Commissioner and Commission President, Harlan
reported to the Commission. I can attest to his highest moral standards and work ethic. His pure
intentions, his monumental impact on the public utilities of this great city, the way he consistently
elevated the community around him, and his innovative and creative environmental solutions for San




                                                                                     HK-SENTENCING-0110
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 115 of 144




Francisco were all signatures of his tenure as head of SFPUC.

I don’t want to focus my time only on his professional career but on who he is to us, his family, friends,
and community. Harlan has been a loyal friend without conditions. My two sons refer to Harlan as
“Uncle Harlan”. As a parent, you allow only those whom you trust and respect to have influential
relationships with your children. My wife and I can personally attest to Harlan’s loving and supportive
nature. Our oldest son Riley, (12 at the time), was hospitalized due to a mental health crisis, and Harlan
was there for us with unwavering support and assistance when we were paralyzed with fear. When my
dad died, Harlan was there for us. When I needed a mentor and advice on how to navigate the
unfortunate curves that life was throwing me, Harlan was there. When Santa failed to show up for our
annual family holiday party, Harlan shot across town and hopped into that Santa suit, saving Christmas in
the process. I have had the honor of watching Harlan meet and fall madly in love with Naomi. His love for
Naomi and their love for each other is a testament to their values and “take nothing for granted”
approach to life. Because of the love that Harlan has shown for their mother and the people around
them, Harlan’s children, Trey and Mason, have a greater opportunity for success in life. As a parent,
Harlan volunteers his time at Trey and Mason’s schools as a basketball coach and mentor. Harlan is
generous to a fault, and always puts his family, friends, and responsibilities ahead of himself.

Harlan has made me a better person through his altruistic actions that have lifted our community, his
mentorship and professional guidance, and his unconditional friendship. These characteristics would not
be possible without Harlan’s strong belief in God, his Church, and his family. As you seek to understand
Harlan’s character, I respectfully request that you take into consideration his history of selfless
generosity, his public service, his two young sons, and his wife.




Ryan Brooks




                                                                                    HK-SENTENCING-0111
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 116 of 144




Sheena C. Johnson
26921 La Alameda
Unit 3317
Mission Viejo, CA 92691
510.604.5758
SheenaCJ1@gmail.com

                                                                                November 5, 2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

       RE: United States v. Harlan Kelly, Jr.
             Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,


I hope this letter finds you well. My name is Sheena C. Johnson, and I am writing to express my
unwavering support for Harlan L. Kelly Jr. I have had the privilege of knowing Harlan for most of
my life, and our relationship is rooted in our shared hometown of Fresno, California. While we
come from different families his parents and my grandparents were among the first Black business
owners, in what was then a small town. Our connection runs deep, as Harlan has been a part of
my life for as long as I can remember so I have no hesitation in attesting to the genuine and
compassionate character that defines him.

My journey into the world of public service, which now spans over 15 years, can be directly
attributed to Harlan's influence and guidance. My current role as a Public Information Officer in
Orange County, California, owes much of its existence to the encouragement and support I
received from Harlan when I was just starting out as an intern when I joined the San Francisco
Public Utilities Commission (SFPUC) during his tenure, initially as an Assistant General Manager
and later as General Manager. Throughout my time working under Harlan's leadership, I had the
privilege of witnessing firsthand the qualities that make him an exceptional individual and a
dedicated public servant. Most notably is the construction, opening, and activation of the Southeast
Community Center (SECC) in Bayview-Hunter’s Point. While every project takes a team of people
to complete, Harlan was the leader, visionary, and advocate for a community that has been
overlooked for decades to ensure they received the neighborhood asset that was long overdue.
When I first had the opportunity to visit the SECC, on a visit to the City this past April, I looked
at the mural containing the late Dr. Espanola Jackson and the kids playing in the courtyard, and
immediately called Harlan with a profound sense of awe and pride; being one of the few people
who knew that none of it would’ve been possible without him.




                                                                               HK-SENTENCING-0112
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 117 of 144




                                                     HK-SENTENCING-0113
      Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 118 of 144

Shelly Tatum Presents
601 Van Ness Ave., Suite E409
San Francisco, CA 94102
(415) 290-6080
shellytatumpresents@gmail.com


November 30, 2023

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 - 17th Floor
San Francisco, CA 94102

Re: United States v. Harlan Kelly, Jr.
Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

My name is Shelly Tatum. I’m a native and a third generation San Franciscan. I
reside and work in San Francisco. I have one son name Joshua Tatum. I’m a
proud father and grandfather of three beautiful young grandchildren. I’m a
member of Providence Baptist Church.

I’m self employed. My company is called Shelly Tatum Presents. I’ve produced
concerts in the San Francisco Bay Area and California for over 20 years. I was
the first African-American to produce a series of sold out jazz concerts at the
Louise M. Davies Symphony Hall back in the mid 80’s.

I currently have a Local Business Enterprise (LBE) with the City and County of
San Francisco. Since 2015, I’ve produced live entertainment for the San
Francisco Airport (SFO). I’ve booked over 300 artists and musicians to perform in
designated locations to entertain travelers and SFO Airport employees.

I’m also an Independent Distributor for Enagic which is the world leader in
producing Alkaline Water Home Kitchen Ionizers.

My mother introduced me to Harlan Kelly in the mid-90’s. She worked in various
departments for the City and County of San Francisco, but has since retired.

I was part of a group of guests who got a chance to tour City Hall when it was
under construction back in the mid 90’s. Our tour guide was Harlan. He narrated




                                                                  HK-SENTENCING-0114
      Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 119 of 144




all of the work that was being done to retrofit City Hall. It was an amazing
experience.

Harlan and I have been friends ever since. He has always been an upstanding
human being. Fast-forward Harlan married the love of his life, Naomi. Our
families have maintained a friendship over the last two decades. The Kelly family
has always been supportive of the Tatum family. When my son received a
football scholarship to USC, Harlan and Naomi were supportive by attending my
son’s going away celebration. Not a year passed that I didn’t received a
Christmas holiday greeting card from Harlan and Naomi with their new additions
to the Kelly family…Mason and Trey.

Harlan had always been a respected and upright servant in the community, and
had a great reputation while working for the San Francisco Public Utilities
Commission.

I fondly remember running into Harlan at San Francisco City Hall, and having a
conversation with him about drinking alkaline ionize water and trying to sell him a
Kangen Water ionizer. I knew that Harlan managed Hetch Hetchy Reservoir, and
thought I’d persuade him to buy one. He acknowledged that Enagic Kangen
Water Ionizers were the best, but I was unsuccessful.

It saddens me to write this letter. I know that Harlan’s good deeds outweigh the
not good. I believe in second chances and hope that he receives leniency.

I support probation and him giving back to the San Francisco community versus
prison confinement.

Thank you for your consideration.

Very truly yours,

Shell y Tatum
Shelly Tatum




                                                                   HK-SENTENCING-0115
            Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 120 of 144


Shon Buford
P.O. Box 24249
San Francisco, CA 94124
415-760-1533
Shon.buford@gmail.com


                                               January 9th, 2024

The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

       RE:     United States v. Harlan Kelly, Jr.
               Case No.: 3:21-CR-00402

Dear Honorable Judge Seeborg,

My name is Shon Buford, and I’ve known Harlan Kelly for nearly twenty years. As a native San
Franciscan, I have been an employee of the City and County of San Francisco for 34 years, a husband,
and a father; I can tell you Harlan has been a mentor and model citizen to many people over the years. I
first officially met Mr. Kelly in 2005 as a young, inspiring leader for San Francisco Firefighters’ Local
Union. Mr. Leroy King, Harlan Kelly, and a few other community leaders gave me valuable guidance and
information that helped shape me into the person I am today.

Harlan is a kind and open person who generally shares his knowledge, life experiences, and skills to help
others achieve their goals. Harlan inspired many young African American men like me to live up to our
potential through the vast number of projects he worked on that helped enhance San Francisco's
infrastructure. Not only did I get to know Harlan for his body of work, but we also soon began to become
friends, because I admired his relationships with his wife, parents, and kids. I loved that being a working
professional didn’t mean you couldn’t also be a good person, husband, father, son, and/or friend. Harlan
tried to carve out time for others, whenever he could.

I’m aware that the legal system has found Harlan liable for serious criminal offenses. I pondered whether
or not I should write this letter of support, but I know deep within my heart that Harlan does and did not
have criminal intent. I’ve watched how the events of this investigation and trial have affected him, his
family, and his friends. I believe that Harlan is truly remorseful for the events that led to his conviction, as
well as the personal, professional, and financial losses to him and his family, and he is willing to make
amends. Harlan has always been a hardworking and responsible member of the community, and I believe
that he has the potential to continue to make positive contributions to society.




                                                                                      HK-SENTENCING-0116
           Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 121 of 144


Harlan is not a bad person, and he and his family have already paid a large price. I would hate to have to
see two promising young men navigate a difficult time in their lives without their father in the house to
guide and support them.

I respectfully request that you consider showing leniency in Mr. Harlan Kelly’s sentencing. I believe that
Harlan has learned from his mistakes and is committed to making a positive change in his life and in the
lives of others.

Thank you for your time and consideration.


                                             Very truly yours,



                                             Shon Buford




                                                                                   HK-SENTENCING-0117
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 122 of 144




                                                       HK-SENTENCING-0118
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 123 of 144




                                                       HK-SENTENCING-0119
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 124 of 144




                                                       HK-SENTENCING-0120
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 125 of 144




                                                       HK-SENTENCING-0121
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 126 of 144




                                                       HK-SENTENCING-0122
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 127 of 144




                                                       HK-SENTENCING-0123
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 128 of 144




                                                       HK-SENTENCING-0124
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 129 of 144




                                                       HK-SENTENCING-0125
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 130 of 144




                                                       HK-SENTENCING-0126
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 131 of 144




                                                       HK-SENTENCING-0127
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 132 of 144



                                            Timothy Alan Simon, Esq
                                              788 Jamestown Avenue
                                             San Francisco, Ca 94124
                                                  (415) 505-1723
                                               tas@tastrategies.com


The Honorable Richard Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3-17th Floor.
San Francisco, CA, 94102

Re: United States vs Harlan Kelly, Jr.
Case No.: 3:21-CR-00402



My name is Timothy Alan Simon. I am a native of San Francisco, an attorney, former Appointments Secretary for
the State of California in the Arnold Schwarzenegger Administration and served six years as a Commissioner on
the California Public Utilities Commission. I currently serve as Chairman of the California African American
Chamber of Commerce, Board of Trustees, University of San Francisco, and Board of Trustees, SFJAZZ, amongst
other non-profit and publicly traded Board of Directors.

It is an honor for me to offer these words on behalf of Mr. Harlan Kelly. I met Harlan over twenty-five years ago,
when we enrolled our sons into the Project Pull Program. This dynamic program, under Harlan’s vision and
leadership, recruited minority youth to work in the engineering and infrastructure fields. My sons worship Harlan
and because of his mentorship Nahel, who formerly worked for the San Francisco Public Utilities Commission,
hired by Harlan, now works for the San Francisco Department of Public Works. Our son Jamal has his own
construction company in Sacramento, as well as Point Falls, Idaho. Their exposure to Harlan ironically, and I say
this with humor, caused them to lose interest in following their dad into the field of law.




                                                                                           HK-SENTENCING-0128
         Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 133 of 144



Harlan’s positive impact on San Francisco is unmatched. His compassion for community engagement through the
SFPUC has literally changed the lives of young women and men who are, too often, forgotten because of their
race, gender, lifestyle, or zip code. Harlan embraces the disadvantaged and shows them the possibilities of their
talents. Many of these youth come from families that have never experienced a bona fide legitimate career.
Through Harlan’s embrace, that impact stretches to multiple agencies and contractors in San Francisco, as well as
brilliant and compassionate on ramps, like Project Pull, migrating the disadvantaged into the middle class.

Harlan is a family man, an accomplished engineer, and a man of the people. I am concerned about opportunities
for certain neglected communities, referenced above, in San Francisco in the aftermath of his absence. For these
reasons, amongst others, I ask for this court’s mercy on Harlan. Knowing Harlan as I do, I know he has learned
from this tragedy. He and his family have suffered embarrassment by a sensationalized San Francisco press corp.
Keeping Harlan out of Federal Prison will allow him to apply his exceptional talent to help San Francisco attack its
problem of the disenfranchised, who cannot find a path to legitimate employment. Harlan is a treasure to this city
and my community.

Thank you for reading my letter.



Sincerely,




Timothy Alan Simon, Esq.




                                                                                            HK-SENTENCING-0129
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 134 of 144




Tyrone Jue
2106 40th Avenue
San Francisco, CA, 94116


                                       December 23, 2023

The Honorable Richard G. Seeborg
Chief District Judge
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 3 – 17th Floor
San Francisco, CA 94102

RE:    United States v. Harlan Kelly, Jr.
       Case No.: 3:21-CR-00402


Dear Honorable Judge Seeborg,

I trust this letter finds you well. I am writing to you in my personal capacity as a friend and
former colleague of Mr. Harlan Kelly, who is currently awaiting sentencing. My intent is to offer
a personal perspective on Mr. Kelly's character and respectfully request leniency in his
sentencing.

I have had the privilege of knowing Harlan for over fifteen years, having worked closely with
him during this time. Our professional relationship has evolved into a genuine friendship. I am
also acquainted with his family—his wife, Naomi Kelly, and their two sons, Harlan Kelly Jr. and
Mason Kelly, all of whom I hold in high regard.

Harlan has demonstrated unwavering compassion and generosity throughout his three decades
of dedicated public service. His commitment to improving our city for the public benefit is
evident in public projects such as Kezar Stadium, the new Southeast Community Center at 1550
Evans St., enhancements to our city's water and power systems, the launch of the city's first
community choice aggregation program to accelerate our clean energy goals, and initiatives like
the city’s first recycled water project at Harding Park. However, above all, Harlan's grounding
force is his family and friends. A family man at heart, he has consistently prioritized the well-
being of his loved ones, offering unwavering support emotionally and financially.

Another notable testament to Harlan's positive impact is the Project Pull program, an initiative
he founded and managed for multiple decades. This program, born out of Harlan's calling to
help high school youth, particularly those of color, discover public service, has empowered
countless young individuals, guiding them towards educational and career goals. Many of these



                                                                              HK-SENTENCING-0130
       Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 135 of 144




mentees have gone on to become successful professionals and leaders, contributing
significantly to various fields, including government.

I am deeply saddened by the circumstances surrounding Harlan's legal situation. The charges he
is facing have undoubtedly taken a toll on him, and, more significantly, on his family. Witnessing
the pain and hardship they are enduring is disheartening.

Your Honor, I respectfully urge you to consider Harlan's longstanding commitment to public
service and his significant positive impact on our San Francisco community when determining
an appropriate sentence. Harlan's desire to help others has been the driving force behind his
thirty years of public service, motivated not by personal gain but by a genuine wish to be a
positive force in the lives of those he serves.

I understand the severity of the situation, and I do not seek to diminish the importance of
accountability. However, even acknowledging any mistakes Harlan may have made, I truly
believe that society and San Francisco would be better served through a sentence of probation
and community service. This, I believe, aligns with the nature and extent of his offense and
allows Harlan to make amends while continuing to support his family and contribute to society.

Thank you for your time and consideration. I hope that you will weigh the positive contributions
Harlan has made against the backdrop of the current situation. Your decision will have a
profound impact not only on him, his family and the community he has served diligently.

Sincerely yours,



Tyrone Jue




                                                                              HK-SENTENCING-0131
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 136 of 144




                                                       HK-SENTENCING-0132
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 137 of 144




                                                       HK-SENTENCING-0133
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 138 of 144




                                                       HK-SENTENCING-0134
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 139 of 144




                                                       HK-SENTENCING-0135
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 140 of 144




                                                       HK-SENTENCING-0136
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 141 of 144




                                                       HK-SENTENCING-0137
        Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 142 of 144




                                               Wayne Perry
                                              241 5th Street
                                         San Francisco, CA 94103
                                          whpusa@yahoo.com
RE: United States v. Harlan Kelly, Jr.
Case No.: 3:21-CR-00402

November 28, 2023

Dear Honorable Judge Seeborg,

My name is Wayne Perry, a native Bay Area resident and small business owner/advocate. I am writing
this letter on behalf of Harlan Kelly, whom I have known for over 30 years. Mr. Kelly is a man of integrity,
honesty, generosity, and always makes efforts to serve to his community. In addition to being a
community leader and thought leader in the engineering industry, Mr. Kelly is one of the most kind and
caring people I know, and a genuine role model for young adults and high school kids interested in the
architecture, engineering and construction management professions.

He regularly volunteers his time to mentor small, minority, and women owned businesses on his own
time. While as a department leader within the City & County of San Francisco, he established an
employment program to help disadvantaged youth and local residents achieve internships and full
employment throughout various City departments. This was not a requirement of his City position,
rather he was the champion and established the program for the local Bay Area community.

He is a loving husband and family man to two young boys, and the caretaker of his parents and other
family members. Both he and his wife, Naomi Kelly are an example of caring parents, loyal friends,
compassionate neighbors, faithful church members, and leaders who serve and enrich our Bay Area
community.

I do not have words to explain how important it is for you to please consider all of what I have written. I
hope that this letter will convince the Court that Mr. Kelly is a good man, and that my testimony will be
taken into consideration in your judgment of him.

Sincerely yours,


Wayne Perry




                                                                                      HK-SENTENCING-0138
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 143 of 144




                                                       HK-SENTENCING-0139
Case 3:21-cr-00402-RS Document 342 Filed 03/11/24 Page 144 of 144




                                                       HK-SENTENCING-0140
